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                             UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TEXAS
                                  BEAUMONT DIVISION

UNITED STATES OF AMERICA                          §
                                                  §
                                                  §
VS.                                               §   CASE NO. 1:09-CR-134(2)
                                                  §
GLEN ELZIE DUNCAN                                 §

            FINDINGS OF FACT AND RECOMMENDATION ON GUILTY PLEA
                 BEFORE THE UNITED STATES MAGISTRATE JUDGE

          By order of the District Court, this matter was referred to the undersigned United States

Magistrate Judge for administration of a guilty plea and allocution under Rules 11 and 32 of the

Federal Rules of Criminal Procedure. Magistrate judges have the statutory authority to conduct

a felony guilty plea proceeding as an “additional duty” pursuant to 28 U.S.C. § 636(b)(3).

United States v. Bolivar-Munoz, 313 F.3d 253, 255 (5th Cir. 2002), cert. denied, 123 S. Ct. 1642

(2003).

          On December 28, 2009, this cause came before the undersigned United States Magistrate

Judge for entry of a guilty plea by the defendant, on Count 2 of the charging Indictment filed in

this cause. Count 2 of the Indictment charges that on or about July 15, 2009, in the Eastern

District of Texas, the defendant, Glen Elzie Duncan, did knowingly and intentionally possess

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with intent to distribute five (5) grams or more but less than fifty (50) grams of a Schedule II

controlled substance, namely a cocaine mixture or substance containing a detectable amount of

cocaine base, to wit “crack cocaine,” in violation of Title 21, United States Code, Section

841(a)(1). See Indictment.

       Defendant, Glen Elzie Duncan, entered a plea of guilty to Count 2 of the Indictment into

the record at the hearing.

       After conducting the proceeding in the form and manner prescribed by Federal Rule of

Criminal Procedure 11 the Court finds:

       a.      That Defendant, after consultation with counsel of record, has knowingly, freely

and voluntarily consented to the administration of the guilty plea in this cause by a United States

Magistrate Judge in the Eastern District of Texas subject to a final approval and imposition of

sentence by the District Court.

       b.      That Defendant and the Government have entered into a plea agreement which

was disclosed and addressed in open court, entered into the record, and placed under seal.

       c.      That Defendant is fully competent and capable of entering an informed plea, that

Defendant is aware of the nature of the charges and the consequences of the plea, and that the

plea of guilty is a knowing, voluntary and freely made plea. Upon addressing the Defendant

personally in open court, the Court determines that Defendant’s plea is voluntary and did not

result from force, threats, or promises. See FED . R. CRIM . P. 11(b)(2).

       d.      That Defendant’s knowing, voluntary and freely made plea is supported by an

independent factual basis establishing each of the essential elements of the offense and



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Defendant realizes that his conduct falls within the definition of the crimes charged under Title

21, United States Code, Section 841(a)(1).

                                STATEMENT OF REASONS

       As factual support for Defendant’s guilty plea, the government presented evidence with

the plea agreement. See Factual Basis, Included in Plea Agreement. In support, the Government

would prove that Defendant, Glen Elzie Duncan, is one and the same person charged in the

Indictment and that the events described in the Indictment occurred in the Eastern District of

Texas. The Government would also have proven, beyond a reasonable doubt, each and every

essential element of the offense alleged in the Indictment through the testimony of witnesses,

including expert witnesses, and admissible exhibits. In support of the Defendant’s plea, the

Court incorporates the proffer of evidence described in detail in the factual basis portion of the

plea agreement.

       Defendant, Glen Elzie Duncan, agreed with the evidence included in the plea agreement.

Counsel for Defendant and the Government attested to Defendant’s competency and capability

to enter an informed plea of guilty. The Defendant agreed with the evidence presented by the

Government and personally testified that he was entering his guilty plea knowingly, freely, and

voluntarily.

                              RECOMMENDED DISPOSITION

       IT IS THEREFORE the recommendation of the undersigned United States Magistrate

Judge that the District Court accept the Guilty Plea of Defendant which the undersigned

determines to be supported by an independent factual basis establishing each of the essential



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elements of the offense charged in Count 2 of the charging Indictment on file in this criminal

proceeding. The Court also recommends that the District Court accept the plea agreement.1

Accordingly, it is further recommended that, Defendant, Glen Elzie Duncan, be finally adjudged

as guilty of the charged offense under Title 21, United States Code, Section 841(a)(1).

         Defendant is ordered to report to the United States Probation Department for the

preparation of a presentence report. At the plea hearing, the Court admonished the Defendant

that the District Court may reject his plea. The District Court may defer its decision to accept or

reject the plea agreement until there has been an opportunity to consider the presentence report.

See FED . R. CRIM . P. 11(c)(3).

                                                     OBJECTIONS

         Within ten (10) days after receipt of this report, any party may serve and file written

objections to the report and recommendation of the Magistrate Judge pursuant to 28 U.S.C. §

636(b)(1)(C). Failure to file written objections to the proposed findings of facts, conclusions of

law and recommendations contained within this report within ten (10) days after service shall bar

an aggrieved party from de novo review by the District Judge of the proposed findings,

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                   “(3) Judicial Consideration of a Plea Agreement.
(A) To the extent the plea agreement is of the type specified in Rule 11(c)(1)(A) or (C), the court may accept the
agreement, reject it, or defer a decision until the court has reviewed the presentence report.
(B) To the extent the plea agreement is of the type specified in Rule 11(c)(1)(B), the court must advise the defendant
that the defendant has no right to withdraw the plea if the court does not follow the recommendation or request.
(4) Accepting a Plea Agreement. If the court accepts the plea agreement, it must inform the defendant that to the extent
the plea agreement is of the type specified in Rule 11(c)(1)(A) or (C), the agreed disposition will be included in the judgment.
(5) Rejecting a Plea Agreement. If the court rejects a plea agreement containing provisions of the type specified in Rule
11(c)(1)(A) or (C), the court must do the following on the record and in open court (or, for good cause, in camera):
(A) inform the parties that the court rejects the plea agreement;
(B) advise the defendant personally that the court is not required to follow the plea agreement and give the defendant
an opportunity to withdraw the plea; and
(C) advise the defendant personally that if the plea is not withdrawn, the court may dispose of the case less favorably
toward the defendant than the plea agreement contemplated.” F ED . C RIM . P. 11(c)(3)-(5).


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conclusions and recommendations, and from appellate review of factual findings and legal

conclusions accepted by the District Court except on grounds of plain error. Douglass v. United

Serv. Auto. Ass’n., 79 F.3d 1415 (5th Cir. 1996) (en banc); 28 U.S.C. § 636(b)(1).            The
 .
constitutional safeguards afforded by Congress and the courts require that, when a party takes

advantage of his right to object to a magistrate’s findings or recommendation, a district judge

must exercise its nondelegable authority by considering the actual evidence and not merely by

reviewing and blindly adopting the magistrate’s report and recommendation. See Hernandez v.

Estelle, 711 F.2d 619, 620 (5th Cir. 1983); United States v. Elsoffer, 644 F.2d 357, 359 (5th Cir.

1981) (per curiam).




                      SIGNED this the 30th day of December, 2009.




                                                      ____________________________________
                                                      KEITH F. GIBLIN
                                                      UNITED STATES MAGISTRATE JUDGE




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